Case 1:04-cv-01284-.]DT-de Document 23 Filed 07/08/05 PagelofS Page|D

Fll.ED BY ,,__ D.C.
UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRlCT OF TENNESSEE 05 JUL ..8 pH [+: oh

 

EASTERN DIVISION
U.$. DSTHCT G'JURT
CAROLYN v. sCoTT, INDIVIDUALLY, ) W OF la l=éEthHS
AND As NEXT or FRIEND or )
DEsHAWN SCOTT )
)
Plaintiff, )
)
v. ) CIVIL ACTION NO. 1:04-cv-1284-T/An
) JURY TRIAL DEMANDED
WILLIAM RoGERs, CHRISTINE )
RoGERs; and BETH MCCLURE d/b/a )
REALTY sHoPPE )
)
Defendants. )
)

 

CONSENT ORDER MODIFYING THE SCHEDULING ORDER

 

It appearing to the court that the parties’ joint motion to modify the scheduling order
previously entered in this matter is well taken and should be granted and
IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that the Rule l6(b)
Scheduling Order previously entered is amended as follows:
l. The deadline for all parties to take depositions in this matter is extended August 15,
2005.
2. All dates previously entered shall remain the same.
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JUDGE L{, $. Wazw£n:d§/»“/j£'
ENTER M 3', 2055

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with Rule 58 and/or 79{a) FHCF' on '

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APPROVED FOR ENTRY:

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This notice confirms a copy of the document docketed as number 23 in
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Honorable .l ames Todd
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